             Case 1:09-mj-00327-TCB Document 1 Filed 05/11/09 Page 1 of 1 PageID# 1
                                                                                                     UNDEBSEAL
AO 91 (Rev. 01/09) Criminal Complaint



                                     United States District Cou
                                                                   for the

                                                     Eastern District of Virginia


                  United States of America
                                v.

                                                                      )      Case No.     /,
                 JAMES WILBUR FONDREN, JR.




                            Defendant(s)
                                                       CRIMINAL COMPLAINT


          I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about

the date(s) of       Nov. 2004 to Feb. 11.2008 in the county of               Arlington. VA     in the         Eastern    District of

         Virginia         the defendant(s) violated           50      U.S.C. §                 783(a) and 18 U.S.C. 3 371

an offense described as follows:

 Defendant JAMES WILBUR FONDREN, JR., while serving as an employee of the United States, to wit: Deputy Director
 of the United States Pacific Command, Washington Liaison Office, in the Department of Defense, did unlawfully and
 knowingly conspire with other persons, known and unknown, to commit the following offense against the United States:
 to communicate in some manner and by some means, to a person whom defendant FONDREN knew and had reason
 to believe was an agent and representative of a foreign government, information of a kind which had been classified by
 the head of a United States agency with the approval of the President, as affecting the security of the United States,
 said defendant having known and having had reason to know that such information had been so classified,




          This criminal complaint is based on these facts:



  SEE ATTACHED AFFIDAVIT




             Continued on the attached sheet.



                                                                                                Complainant's signature


                                                                                        Robert M. Gibbs, Special Agent, FBI
                                                                                                 Printed name and title


 Sworn to before me and signed in my presence.                                                          /§/
                                                                                          Theresa Carroll Buchanan
                                                                                 r~y £^JJaited States Magistrate Judge
 Date:              l<
                                                                                                   Judge's signature


 City and state:                           Alexandria, Virginia                   Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                                 Printed name and title
